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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                               Criminal Action No.
         v.
                                               1:22-CR-361-TCB
   K AYRICKA W ORTHAM
      A / K / A K AYRICKA D UPREE
                                               Under Seal
      A / K / A K AYRICKA Y OUNG


                    United States’ Motion to Revoke Bond

   The United States of America, by Ryan K. Buchanan, United States Attorney,

and Stephen H. McClain and Norman L. Barnett, Assistant United States
Attorneys for the Northern District of Georgia, files this Motion to Revoke Bond.
                                    Introduction
   The Court should revoke defendant Kayricka Wortham’s release on bond and
issue an order of detention. She has violated the conditions of her appearance
bond by committing new crimes. The government learned two days ago that
Wortham recently lied to a franchising company, claiming that her criminal case
had been nolle prosecuted and dismissed, in an attempt to obtain a franchise for
a hookah lounge in Midtown Atlanta. Wortham went so far as to email the
company a fake document purporting to be from this Court, including the
signature of Judge Timothy C. Batten. Sr., and a purported nolle prosequi
dismissal document, including the signature of AUSA Norman L. Barnett. The
fake court document included the Clerk and Court’s name and the purported
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signature of a Deputy Clerk. This new fraudulent activity warrants Wortham’s
detention for the pendency of this case.
                                    Background
   On September 29, 2022, Wortham waived indictment and was charged with
conspiracy to commit wire fraud by way of criminal information. (Doc. 1.)
Wortham was an Operations Manager at Amazon.com, Inc. (Id. at 2.) She was in
a relationship with Brittany Hudson, who owned a business that delivered
packages to Amazon customers. (Id.) Wortham used her managerial position to

open fake vendors in the Amazon system and submit false invoices, which she
approved, to Amazon. (Id. at 3.) Conspiring with Hudson and others, Wortham
submitted more than $10 million in fictitious invoices to Amazon, causing the
company to pay about $9.4 million to bank accounts controlled by the
conspirators. (Id.) Wortham and Hudson shared in millions of dollars of
fraudulent proceeds, purchasing expensive real estate and luxury cars. (Id. at 17.)

   At her initial appearance, with the parties’ agreement, the Court issued a
$5,000 appearance bond requiring Wortham to appear for court proceedings and
to surrender for any sentence the Court may impose. (Doc. 4 at 1.) The bond also

required that Wortham “shall not violate federal, state, or local law.” (Id.)
   Wortham pleaded guilty to the criminal information. (Doc. 6.) Soon thereafter,
she had an apparent falling out with her attorney, who filed a motion to
withdraw. (Doc. 11.) That motion was granted. (Doc. 12.) Wortham then
knowingly and voluntarily waived her right to counsel and began representing
herself, with standby counsel appointed. (Doc. 20.) Since taking the case in her

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own hands, Wortham has filed multiple frivolous documents of the “sovereign
citizen” variety with the Court. (Docs. 10, 15-18, 21-24.)
   On January 24, 2023, the government learned that Wortham and Hudson have
committed new fraud crimes while on bond. That day, counsel for Cru
Franchising Company, LLC, contacted the U.S. Attorney’s Office inquiring about
Wortham and Hudson. Counsel explained that, on December 7, 2022, Wortham
and Hudson had signed a franchise agreement with Cru to open two Cru hookah
lounges. The two had made two payments, totaling over $150,000, for a location

in Midtown Atlanta. But in completing her due diligence before closing the deal,
Cru counsel located a press release, dated December 1, 2022, detailing the
Amazon fraud crimes committed by Wortham and Hudson, charged in this case.
   After reading the press release, Cru counsel contacted Wortham and Hudson
to discuss the matter with them. On January 23, 2023, Cru counsel had a lengthy
Zoom call with Wortham and Hudson. During that call, Wortham and Hudson

falsely claimed that Demetrius Hines (who has also been charged and pleaded
guilty as a co-conspirator in the Amazon scheme) was solely responsible for the
crimes against Amazon and that they were not involved; that Wortham’s case

was getting nolle prossed and dismissed; and that Hudson’s case was dropped,
sealed, and not moving forward because there was never enough evidence to
prosecute her. Wortham and Hudson had a person who identified himself as
Hines speak during the call, for him to confirm Wortham and Hudson’s story
that he was responsible and that Wortham and Hudson were not to blame for the



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Amazon fraud. Hudson stated that she could not send Cru counsel anything
from her case showing the dismissal because the record was sealed.
   But Wortham stated that she would email proof that her case had been
dismissed. Later that night after the call, Wortham emailed Cru counsel and
Cru’s President. (See Ex. 1.) In the email, Wortham falsely claimed that the
government “attempted to take me down for something I didn’t do, honestly
scared me enough to force me to plea originally and then had Demetrius come
clean afterwards, but tried to still hold my assets as his restitution.” (Id.) She

further stated falsely that the government “tried to force me to sign an NDA in
exchange for my assets back” when “they thought I would go public with the
information,” but that she “refused to sign their NDA.” (Id.) She falsely
concluded, “they gave me all of my stuff back to hide the fact that they were
trying to bankroll my estate and they issued a dismissal in chambers and
exemplified my copies so that I had something tangible to prove my innocence

because they refuse to publicly take the loss after they destroyed my character
and had the nerve to try a publicity stunt.” (Id.)
   As supposed proof of the dismissal, Wortham attached a document that looks

like it came from this Court entitled “Exemplification Certificate.” (See Ex. 2.) It
includes the Court’s name at the top and Kevin P. Weimer’s name as the Clerk of
the Court, and contains a signature that purports to come from a Deputy Clerk of
the Court. (Id. at 1.) It includes a January 10 date and signature for Judge
Timothy C. Batten, Sr., resembling the Court’s real signature. (Id.) It is not clear if
the signature is forged or copied from another document. The second page of the

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document has this case’s caption and is entitled “Notice of Nolle Prosequi and
Dismissal.” (Id. at 2.) This fake document includes the signature for AUSA
Norman L. Barnett, which also resembles his real signature. This document is
file-stamped December 29, 2022, with a stamp that looks like it came from this
Court. These documents are fraudulent, having never been issued in this case.
   In investigating this incident, the government learned that, on January 22,
2023, Hudson emailed Cru purported financial information to support closing
the franchise deal. (See Ex. 3.) That emailed attached fraudulent bank statements

and personal financial statements. The Secret Service has confirmed that the two
bank statements for Hudson are doctored. The PenFed Credit Union statement
was altered to change the balance from $7,015.13 to $307,015.13, and the Wells
Fargo statement was altered to change the balance from $3,499.47 to $203,499.47.
                                     Argument
   Section 3148 of Title 18 provides that a person who has been released on

bond, “and who has violated a condition of his release, is subject to a revocation
of release, an order of detention, and a prosecution for contempt of court.” 18
U.S.C. § 3148(a). The government may initiate a proceeding for revocation of

release by filing a motion. Id. § 3148(b). The Court “may issue a warrant for the
arrest of a person charged with violating a condition of release.” Id.
   If, after a hearing, the Court finds that there is “probable cause to believe that
the person has committed a Federal, State, or local crime while on release” and
either that the factors set forth in § 3142(g) support detention or that the person is
unlikely to abide by conditions of release, the Court “shall enter an order of

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revocation and detention.” Id. “If there is probable cause to believe that, while on
release, the person committed a Federal, State, or local felony, a rebuttable
presumption arises that no condition or combination of conditions will assure
that the person will not pose a danger to the safety of any other person or the
community.” Id.
   Here, there is probable cause to believe that Wortham has committed new
fraud offenses, including wire fraud and aggravated identity theft, while on
bond. She and Hudson lied to Cru in an attempt to obtain a valuable hookah

franchise, using emails and forged signatures of real individuals during and in
relation to the fraud scheme. See 18 U.S.C. §§ 1343, 1349, 1028A. Although
perhaps not as brazen as the $10 million fraud against Amazon, Wortham’s latest
scheme is extraordinary for a convicted felon on bond, attempting to dupe a
franchising company through wild misrepresentations about the status of her
case and forged documents that appear to come from the Court and prosecution.

She has violated the law, continues to defraud others, this time with fake court
documents, and cannot be trusted on bond. The government respectfully
requests that the Court issue a warrant for Wortham’s arrest and revoke her

release on bond.




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                                   Conclusion

   For these reasons, the government respectfully requests that the Court issue
an arrest warrant for defendant Kayricka Wortham, revoke her bond, and order
her detention. To ensure that Wortham does not flee or take further actions in
violation of her bond, the government requests that the Court allow this filing to
be sealed until Wortham learns of it through either her arrest or other action by
the Court on this motion.




                                         Respectfully submitted,

                                         R YAN K. B UCHANAN
                                             United States Attorney



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